                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                SOUTHERN DIVISION


QUIKDINE.COM, INC.,                               )
                                                  )
                              Plaintiff,          )
                                                  )   Case No. 18-cv-3401
               v.                                 )
                                                  )
                                                  )   (Removed from the Circuit Court of Greene
DOORDASH, INC.                                    )   County, Missouri; No. 1831-CC01456)
                                                  )
                              Defendant.          )


               DECLARATION OF TIMOTHY R. WEST IN SUPPORT OF
                     DEFENDANT’S NOTICE OF REMOVAL


I, Timothy R. West, hereby declare:
       1.      I am a partner at Berkowitz Oliver LLP and am one of the attorneys representing

Defendant DoorDash, Inc. (“DoorDash”) in this action. Unless otherwise stated, I have personal

knowledge of the facts set forth in this declaration and, if called upon as a witness, I could and

would testify competently to them.

       2.      Attached as Exhibit A is a true and correct copy of the summons and Petition for

Damages (“Petition”) filed in Quikdine.com, Inc. v. DoorDash, Inc., Case No. 1831-CC01456, in

the Circuit Court of Greene County, Missouri. On November 6, 2018, the summons and Petition

were served by process server on DoorDash’s registered agent for the State of Missouri.

       3.      DoorDash did not receive any other process, pleadings, or orders by process server

or any other means from plaintiff Quikdine.com, Inc. (“Quikdine”).

       4.      The records of the Missouri Secretary of State show that Quikdine is incorporated

under the laws of Missouri. Attached as Exhibit B is a true and correct copy of the business listing

for Quikdine obtained from the website of the Missouri Secretary of State.




                                     1
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       5.     The records of the Missouri Secretary of State show that DoorDash is not

incorporated under the laws of Missouri. Attached as Exhibit C is a true and correct copy of the

business listing for DoorDash obtained from the website of the Missouri Secretary of State.



       EXECUTED at Kansas City, Missouri this 5th day of December, 2018.


                                                   _________________________________
                                                   Timothy R. West, MO Bar #52187




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                EXHIBIT A




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                EXHIBIT B




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                                                    Gen. Business - For Profit Details as of 11/26/2018
                                                                                                                                                                                   Required Field
Business Entity
                   File Documents - select the filing from the "Filing Type" drop-down list, then click FILE ONLINE.
Fees & Forms
                   File Registration Reports - click FILE REGISTRATION REPORT.
Business Entity
                   Copies or Certificates - click FILE COPIES/CERTIFICATES.
FAQ
Business Entity
Home Page           RETURN TO                                                                       Select filing from the list.                                   FILE
                    SEARCH RESULTS                                                                  Acceptance of a General Bus                      select
                                                                                                                                                                   ONLINE
Business Entity                                                                       Filing Type
Online Filing       ORDER COPIES/

Business            CERTIFICATES

Outreach Office
Business Entity          General Information
                         Filings
Contact Us
                         Address
UCC Online               Contact(s)
Filing
                                      Name(s) QUIKDINE.COM, INC.                                                  Address 4140 S. Fairview Suite 104
Secretary of                                                                                                                 Springfield, MO 65807
                                          Type Gen. Business - For Profit                                      Charter No. 00490782
State Home
                                  Domesticity Domestic
Page                       Registered Agent Ruggeri, Randy                                                           Status Good Standing
                                               4140 S. Fairview Suite 104
                                               Springfield, MO 65807
                                                                                                             Date Formed 12/7/2000

                                      Duration Perpetual
                             Renewal Month March

                                  Report Due 6/30/2019

                  Filed Documents as of 11/26/2018 12:12 PM                                                                                                           Show Registration Reports

                                 Action                           Type                     Filing Type                             Date Filed                       Effective Date

                    View Document                    Registration Reports         Annual Registration Report         5/15/2018                         5/15/2018


                    View Document                    Registration Reports         Annual Registration Report         6/12/2017                         6/12/2017


                    View Document                    Registration Reports         Annual Registration Report         8/16/2016                         8/16/2016


                    View Document                    Administrative - Reminders   Reminder Notice to File the        8/10/2016                         8/10/2016
                                                                                  Registration Report

                    View Document                    Registration Reports         Annual Registration Report         9/3/2015                          9/3/2015


                    View Document                    Administrative - Reminders   Reminder Notice to File the        8/20/2015                         8/20/2015
                                                                                  Registration Report

                    View Document                    Registration Reports         Annual Registration Report         2/13/2015                         2/13/2015


                    View Document                    Registration Reports         Annual Registration Report         1/20/2014                         1/20/2014


                    View Document                    Registration Reports         Annual Registration Report         1/17/2013                         1/17/2013


                    View Document                    Registration Reports         Annual Registration Report         2/1/2012                          2/1/2012

                                                                                                Data pager
                   Change page:
                    Page 1 of 3, items 1 to 10 of 23.


                   Address                                                                                                                                                Show Previous Address

                                 Type                                                         Address                                                             Since              To
                   Principal Office                 4140 S. Fairview Suite 104                                                                            2/13/2015
                                                    Springfield, MO 65807
                   Reg. Office                      4140 S. Fairview Suite 104                                                                            12/7/2000
                                                    Springfield, MO 65807


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 Contact(s)                                                                                                                 Show Previous Contact(s)

    Type         Name                                  Address                                    Phone         Email       Since           To
 No records to display.

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                EXHIBIT C




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                                                   Gen. Business - For Profit Details as of 11/26/2018
                                                                                                                                                                           Required Field
Business Entity Fees & Forms
                                File Documents - select the filing from the "Filing Type" drop-down list, then click FILE ONLINE.
Business Entity FAQ
                                File Registration Reports - click FILE REGISTRATION REPORT.
Business Entity Home Page       Copies or Certificates - click FILE COPIES/CERTIFICATES.

Business Entity Online Filing
                                 RETURN TO                                                                     Select filing from the list.                       FILE
Business Outreach Office         SEARCH RESULTS                                                                                                                   ONLINE
                                                                                                 Filing Type    Amended Articles Accepting Professional Corp
Business Entity Contact Us
                                 ORDER COPIES/
                                 CERTIFICATES
UCC Online Filing
                                  General Information         Filings        Address       Contact(s)
Secretary of State Home Page
                                                Name(s) DOORDASH, INC.                                                       Address 901 Market Street
                                                                                                                                        Suite 600
                                                                                                                                        San Francisco, CA 94103
                                                   Type Gen. Business - For Profit                                        Charter No. F001328141
                                             Domesticity Foreign                                                         Home State DE
                                       Registered Agent REGISTERED AGENT SOLUTIONS, INC.                                        Status Good Standing
                                                        3225 - A Emerald Lane
                                                        Jefferson City, MO 65109
                                                                                                                        Date Formed 9/26/2017

                                                Duration Perpetual

                                             Report Due 12/31/2018

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